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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                                (Baltimore Division)

 ANNE ARUNDEL COUNTY,
 MARYLAND,

              Plaintiff,

 v.

 BP P.L.C.; BP AMERICA, INC.; BP
 PRODUCTS NORTH AMERICA INC.;
 CROWN CENTRAL LLC, CROWN
 CENTRAL NEW HOLDINGS LLC;
 ROSEMORE, INC.; CHEVRON CORP.;
 CHEVRON U.S.A. INC.; EXXON MOBIL
 CORP.; EXXONMOBIL OIL
 CORPORATION; ROYAL DUTCH
 SHELL PLC; SHELL OIL COMPANY;                   CIVIL ACTION
 CITGO PETROLEUM CORP.;                          FILE NO.: 1:21-cv-1323- ELH
 CONOCOPHILLIPS;
 CONOCOPHILLIPS COMPANY;
 PHILLIPS 66; PHILLIPS 66 COMPANY;
 MARATHON OIL COMPANY;
 MARATHON OIL CORPORATION;
 MARATHON PETROLEUM
 CORPORATION; SPEEDWAY LLC;
 HESS CORP.; CNX RESOURCES
 CORPORATION; CONSOL ENERGY
 INC.; CONSOL MARINE TERMINALS
 LLC; and AMERICAN PETROLEUM
 INSTITUTE,

              Defendants.


                             NOTICE OF APPEARANCE

      Please enter the appearance of David B. Hamilton as counsel for Defendants

ConocoPhillips and ConocoPhillips Company.




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       Dated: June 4, 2021          Respectfully Submitted,

                                    WOMBLE BOND DICKINSON (US) LLP


                                    /s/ David B. Hamilton
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                                    Counsel for Defendants ConocoPhillips and
                                    ConocoPhillips Company




                               CERTIFICATE OF SERVICE

        I certify that on June 4, 2021, the foregoing document was filed with the Court’s CM/ECF
electronic filing system and thereby served upon all counsel of record.



                                            /s/ David B. Hamilton
                                            David B. Hamilton (Bar No. 04308)




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